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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )
               Plaintiff,                    )       INTERSTATE AGREEMENT ON
                                             )       DETAINERS ORDER
       vs.                                   )
                                             )       Case No.: 1:16-cr-052
Travis Lee Patzner,                          )
                                             )
               Defendant.                    )


       On May 9, 2016, defendant made his initial appearance and was arraigned in the above-

entitled action. SAUSA Dawn Dietz appeared on the Government’s behalf. Attorney Kent Morrow

appeared on defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the North Dakota State Penitentiary (“NDSP”) in Bismarck, North Dakota. After the Indictment in

this case was returned and an arrest warrant issued, a detainer was filed by the United States with

the North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act (“IADA”),

defendant’s appearance before this court for his initial appearance and arraignment was secured by

a writ of habeas corpus ad prosequendum.

       During the hearing, defendant was advised of his rights under the IADA to continued federal

custody until the charges set forth in the superseding indictment are adjudicated. Defendant

knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the

IADA and in open court and agreed to his continued housing by the State of North Dakota (the

“sending state” under the IADA) at the NDSP pending further proceedings in this case initiated by

the United States (the “receiving state” under the IADA). The United States did not object.


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       Accordingly, the court ORDERS that defendant be housed in the “sending state” under the

IADA pending further proceedings or until further order of the court. Further, pursuant to

defendant’s waiver, the return of the defendant to his place of incarceration pending trial shall not

be grounds under the IADA for dismissal of the charges set forth in the indictment.

       Dated this 9th day of May, 2016


                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




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